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Attorneys for JPMorgan Chase Bank, National Association
L&A Case No. 19.74530.2

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF WYOMING


In re:                                             Bankruptcy No. 19-20513

Thomas R. Gagnon dba Tom Gagnon Real               (a Chapter 7 case)
Estate dba Shed Antler Collection and Resale
dba Tom Gagnon Writing,                            Filed Electronically

                                         Debtor.

      MOTION OF JPMORGAN CHASE BANK, NATIONAL ASSOCIATION FOR
    TERMINATION OF THE AUTOMATIC STAY AND NOTICE OF TIME TO OBJECT


         JPMorgan Chase Bank, National Association (“Movant”), hereby moves this Court,

pursuant to 11 U.S.C. § 362, for relief from the automatic stay with respect to certain real

property of the debtor having an address of 245 River View Drive, Green River, Wyoming 82935

(the “Property”). In further support of this Motion, Movant represents as follows:

         1.    On August 6, 2019, the debtor filed a petition commencing a case under Chapter

7, Title 11, United States Code.

         2.    The debtor, Thomas R Gagnon, has executed and delivered or is otherwise

obligated with respect to that certain promissory note in the original principal amount of
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$202,000.00 (the “Note”). A copy of the Note is attached hereto as Exhibit 1. Movant is an

entity entitled to enforce the Note.

       3.      Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,

the “Obligations”) of the debtor under and with respect to the Note and the Mortgage are secured

by the Property. A copy of the Mortgage is attached hereto as Exhibit 2.

       4.      All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to that certain assignment of mortgage, a copy of which is attached hereto as Exhibit 3.

       5.      The legal description of the Property is:

       The Westerly 13 feet of Lot 4 and the Easterly 65 feet of Lot 3 in Block 4 of the
       Hutton Heights Addition, First Filing, to the City of Green River, Sweetwater
       County, Wyoming, described as follows:

       Beginning at the point which lies South 71 degrees 43 minutes East 13 feet from
       the most southerly corner of Lot 3, Block 4 of said Hutton Heights addition to the
       town of Green River, Wyoming, First Filing; thence North 71 degrees 43` West a
       distance of 78.0 feet; thence North 18 degrees 17 East a distance of 90.0 feet;
       thence South 71 degrees 43` East a distance of 78 feet; thence South 18 degrees
       17 minutes West a distance of 90 feet to the point of beginning.

       6.      As of August 17, 2019 the outstanding Obligations are:

                       Unpaid Principal Balance                 $185,108.44
                       Unpaid, Accrued Interest                 $3,436.08
                       Costs                                    $352.71
                       Less: Partial Payments                   $0.00
                       Minimum Outstanding Obligations          $188,897.23


       7.      The following chart sets forth the number and amount of payments due pursuant

to the terms of the Note that have been missed by the debtor:


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Number of     From         To             Principal & Escrow (if      Monthly         Total
Missed                                    Interest    applicable)     Payment         Amounts
Payments                                                              Amount
2             05/01/2019   06/01/2019     $1,069.00      $215.38      $1,284.38       $2.568.76
2             07/01/2019   08/01/2019     $1,069.00      $212.88      $1,281.88       $2,536.76
Less Post-petition partial payments (suspense balance): 0.00
                                                                   Total: $5,132.52


        8.    The reported estimated value for the Property is $198,662.00, as referenced in the

County Tax Valuation, a copy of which is attached as Exhibit 4.

        9.    Upon information and belief, the encumbrances on the Property listed in the

Schedules or otherwise known, including but not limited to the encumbrances granted to Movant

is: $188,897.23.

        10.   Cause exists for relief from the automatic stay for the following reasons:

        a.    Movant's interest in the Property may not be adequately protected as Movant's

interest in the collateral may not be supported by an adequate equity cushion. The fair market

value of the Property may be declining and payments are not being made to Movant sufficient to

protect Movant's interest against that possible decline. The debtor is missing payments as

required.

        b.    The debtor is surrendering the property.

        11.   Pursuant to L.B.R. 4001-1 A (5), a proposed order accompanies this Motion as a

separate document.




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       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

stay and granting the following:

       1.      That the Order be biding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of the Title 11 of the United States Code.

       2.      For such other relief as the Court deems proper.

                               NOTICE OF TIME TO OBJECT

YOU ARE HEREBY NOTIFIED that if you desire to oppose this Motion for Relief from Stay,

you are required to file with this Court and serve on Lundberg and Associates, PC, attorneys for

the Movant, whose address is shown above, a written objection to the Motion on or before,

September 23, 2019, or relief requested may be granted by the Court

        DATED: September 6, 2019

                                              LUNDBERG & ASSOCIATES, PC


                                              By: /s/ Mark S. Middlemas
                                                      Mark S. Middlemas
                                                      Attorneys for Movant




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     CERTIFICATE OF SERVICE – BY NOTICE OF ELECTRONIC FILING (CM/ECF)

       I certify that, on September 6, 2019, I electronically filed the foregoing Motion to

Terminate Automatic Stay and Notice of Time to Object, with the United States Bankruptcy

Court for the District of Wyoming by using the CM/ECF system. I further certify that the parties

of record in this case, as identified below, are registered CM/ECF users and will be served

through the CM/ECF system:

                              Clark D. Stith
                              clarkstith@wyolawyers.com
                              ECF
                                      Attorney for Debtor




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                               David L. Miller
                               davidmillerpc@msn.com, ut09@ecfcbis.com,
                               dlm@trustesolutions.com, dlm@trustesolutions.net
                               ECF
                                      Chapter 7 Trustee

                                               /s/ Mark S. Middlemas
                                              Mark S. Middlemas


                        CERTIFICATE OF SERVICE – MAIL, OTHER

       I certify that, on September 6, 2019, I caused to be served a true and correct copy of the

foregoing Motion to Terminate Automatic Stay and Notice of Time to Object, as follows:

Mail Service – By regular first class United States mail, postage fully pre-paid addressed to:

                               Thomas R Gagnon
                               45 River View Drive
                               Green River, WY 82935
                                      Debtor

                               Thomas R Gagnon
                               PO Box 2643
                               Green River, WY 82902
                                     Debtor



                                               /s/ Mark S. Middlemas
                                              Mark S. Middlemas




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